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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS




Mason Woolley                                        )
434 N Pleasant Street                                )
Amherst, Massachusetts 01003                         )
                                                      )
                             Plaintiff,               )                      Civil Action No:
                                                      )                      3:19-cv-30004-MGM
          V.                                         )
University of Massachusetts                           )
181 President’s Drive                                )
Amherst, Massachusetts;                               )
                                                      )
                                                      )
                                                       )
                                                      )
                                                      )
                                                      )
                            Defendants,               )
_______________________________________________________




MOTION TO APPOINT COUNSEL FOR MEDIATION

Plaintiff moves the court to provide a limited appointment of counsel as outlined in the Local Rules of the

United States District Court for the District of Massachusetts under 16.4.




                                                                                   Respectfully submitted,




                                                                                   /S/   Mason Woolley
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                                                                                  Amherst, Massachusetts
                                                                               masonlawemail@gmail.com
                                                                                           828-237-3605
                                                                                                   Pro Se
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